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 1          ROGER D. WILSON SBN: 192207
           LAW OFFICE OF ROGER D. WILSON
 2                 2377 West Shaw Avenue, Suite 208
                        Fresno, California 93711
 3                    Telephone: (559) 233-4100
                       Facsimile: (559) 746-7200
                     Email: roger@wilson-law.com
 4

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 6   Attorney for Defendant, MIGUEL MEZA

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 9                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      ******
11
     UNITED STATES OF AMERICA,                              Case No.: 1:19-CR-00007-DAD-BAM
12
                        Plaintiff,
13                                                          WAIVER OF DEFENDANT’S
              v.                                            PERSONAL PRESENCE; ORDER
14                                                          THEREON
15   MIGUEL MEZA

16                      Defendant.

17

18            Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant Miguel Meza, having been advised of

19   his right to be present at all stages of the proceedings, hereby requests that this Court proceed in

20   his absence on every occasion that the Court may permit, pursuant to this waiver.

21            Defendant agrees that his interests shall be represented at all times by the presence of

22   his attorneys of record the same as if Defendant were personally present, and requests that this

23   court allow his attorneys-in-fact to represent his interests at all times. Defendant further agrees

24   that notice to Defendant’s attorney that Defendant’s presence is required will be deemed notice

25   to the Defendant of the requirement of his appearance at same time and place.

26            This request is made because it is very difficult for defendant to make the trip from Los

27   Angeles to Fresno because of financial reasons.

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 1            Lastly, Mr. Meza’s counsel has discussed this waiver of appearance with counsel for the

 2   Government, who had no objection.

 3            Respectfully submitted,

 4    Dated:                                By:                    /s/ Miguel Meza
 5                                                                MIGUEL MEZA
                                                                       Defendant
 6                                                            (Original Signature in File)

 7

 8

 9    Dated:                                By:              /s/ Roger D. Wilson
10                                                               ROGER D. WILSON
                                                                 Attorney for Defendant
11                                                                  MIGUEL MEZA
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14

15                                                ORDER

16
              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
17
     appearance may be waived at any and all non-substantive pretrial proceedings until further
18
     order.
19

20
     IT IS SO ORDERED.
21

22      Dated:      March 18, 2019                           /s/ Barbara A. McAuliffe             _
                                                         UNITED STATES MAGISTRATE JUDGE
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